       Case 2:16-cr-00036-TOR           ECF No. 628         filed 05/26/22      PageID.3148 Page 1 of 2
 PROB 12C                                                                                 Report Date: May 25, 2022
(6/16)

                                       United States District Court                              FILED IN THE
                                                                                             U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                       May 26, 2022
                                        Eastern District of Washington                      SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Hector Diaz                               Case Number: 0980 2:16CR00036-TOR-1
 Address of Offender:                             , Kennewick, Washington 99336
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: March 29, 2018
 Original Offense:        Conspiracy to Distribute 500 Grams or More of a Mixture or Substance Containing
                          Methamphetamine, 21 U.S.C. § 841(a)(1), (b)(1(A)(viii) and 846
 Original Sentence:       Prison - 30 months                 Type of Supervision: Supervised Release
                          TSR - 60 months

 Revocation Sentence:     Prison - 8 months
 10/06/2021               TSR - 52 months


 Asst. U.S. Attorney:     Caitlin A. Baunsgard               Date Supervision Commenced: March 28, 2022
 Defense Attorney:        Molly Winston                      Date Supervision Expires: July 27, 2026


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 05/11/2022.

On April 5, 2022, supervised release conditions were reviewed with Mr. Diaz at the U.S. Probation Office in
Richland, Washington. Mr. Diaz signed a copy of his judgment acknowledging an understanding of his conditions.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            4           Special Condition #4: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: Hector Diaz is considered to be in violation of his conditions of
                        release by using a controlled substance, marijuana, on and before May 16, 2022.

                        Mr. Diaz reported to the U.S. Probation Office in Richland, Washington, on May 18, 2022.
                        He admitted to consuming marijuana on May 16, 2022. When questioned about his
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                        frequency of use of marijuana, Mr. Diaz admitted his use has continued since the previous
                        violations were reported to the Court on May 11, 2022.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this
petition in future proceedings with the violation(s) previously reported to the Court.




                                           I declare under penalty of perjury that the foregoing is true and correct.
                                                             Executed on:     May 25, 2022
                                                                              s/Daniel M. Manning
                                                                              Daniel M. Manning
                                                                              U.S. Probation Officer


 THE COURT ORDERS

 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [X ]      The incorporation of the violation(s) contained in this petition
           with the other violations pending before the Court.
 [ ]       Defendant to appear before the Judge assigned to the case.
 [ X]      Defendant to appear before the Magistrate Judge.
 [ ]       Other

                                                                              Th
                                                                              Thomas
                                                                               homas OO. Rice
                                                                              United States District Judge
                                                                              May 26, 2022
                                                                              Date
